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                                 UNITED STATES DISTRICT COURT
                                     Western District of Virginia
                                     OFFICE OF THE CLERK
                                       Laura A. Austin, Clerk

                                                April 22, 2024


Re: GLAS Trust Company LLC v. Carter Bank & Trust; 4:24CV00005

Dear Counsel:

          This case has been assigned to Chief United States District Judge Michael F. Urbanski.

       I am contacting you for the purpose of setting up a scheduling conference with Judge Urbanski by
Zoom, pursuant to Rule 16(b)(1)(B) of the Federal Rules of Civil Procedure. At this scheduling
conference, please be prepared to discuss a discovery plan and select a trial date. A pretrial scheduling
order will be entered following this conference.

       Currently, Judge Urbanski has the following dates and times available to hold this
conference/hearing:

June 13          9am, 9:30am, 10am, 10:30am, 11am, 11:30am
June 14          2pm, 2:30pm
July 15          9am, 9:30am, 10am, 10:30am, 11am, 11:30am
July 18          same
July 19          2pm, 2:30pm

        Please confer and have one party contact me at kristina@vawd.uscourts.gov, with your
selection. I will send your Zoom invitation for the hearing once I get your date and time.



                                                        Thank you,

                                                        s/ Kristin Ayersman

                                                        Courtroom Deputy
                                                        (kristina@vawd.uscourts.gov or (540) 857-5153)
cc: All Counsel
    Electronic File
